Case 8:19-cv-01203-JVS-DFM Document 95 Filed 08/19/20 Page 1 of 3 Page ID #:4665
    Case 8:19-cv-01203-JVS-DFM Document 95 Filed 08/19/20 Page 2 of 3 Page ID #:4666

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

       6269, 2020 WL 2084967, at *3 (C.D. Cal. Mar. 31, 2020) (“A protective order would
       protect the putative class members' privacy concerns while providing Plaintiffs discovery
       that is likely to produce substantiation of the class allegations.”).

               At oral argument, HFT suggested that the Court should implement a notice
       procedure under Belaire-West Landscape, Inc. v. Superior Court, 149 Cal. App. 4th 554
       (2007), and allow complaining customers the opportunity to opt out of having their contact
       information disclosed to Plaintiffs. Such a procedure is not warranted. Absent an agreement
       of the parties, most courts have concluded that Belaire-West notices are required “only
       when there are special privacy concerns, such as the disclosure of medical or financial
       information.” Austin v. Foodliner, Inc., No. 16-7185, 2018 WL 1168694, at *2 (N.D. Cal.
       Mar. 6, 2018). The information sought here does not implicate such concerns.

               The second issue presented by Plaintiffs’ motion is whether the discovery sought—
       principally the contact information for other chainsaw customers who complained about
       their chainsaws—is permissible pre-class certification discovery. Federal Rule of Civil
       Procedure 26 provides that a party may obtain discovery “regarding any nonprivileged
       matter that is relevant to any party’s claim or defense and proportional to the needs of the
       case[.]” Fed. R. Civ. P. 26(b)(1). “Information within this scope of discovery need not be
       admissible in evidence to be discoverable.” Id.

               “A party seeking class certification must satisfy the requirements of Federal Rule of
       Civil Procedure 23(a) and the requirements of at least one of the categories under Rule
       23(b).” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 542 (9th Cir. 2013). Before class
       certification, discovery lies entirely within the discretion of the court. See Vinole v.
       Countrywide Home Loans, Inc., 571 F.3d 935, 942 (9th Cir. 2009). Courts generally
       recognize the need for pre-certification discovery relating to class issues. See id. In seeking
       pre-certification discovery, the plaintiff bears the burden to either make a prima facie
       showing that the Rule 23 requirements are satisfied, or to show that discovery is likely to
       produce substantiation of the class allegations. See id. Discovery is thus warranted where it
       will help resolve factual issues necessary for the determination of whether the action may be
       maintained as a class action, such as whether there are grounds for a class or subclass. See
       Kamm v. Cal. City. Dev. Co., 509 F.2d 205, 210 (9th Cir. 1975).

              Generally, the Ninth Circuit has favored “allowing class contact discovery unless it is
       apparent that Plaintiff cannot maintain the action on behalf of the class.” Goundar v.
       Redfin Corp., No. 13-3698, 2014 WL 12524649, at *2 (C.D. Cal. July 21, 2014). Indeed,
       “the better and more advisable practice for a District Court to follow is to afford the litigants
       an opportunity to present evidence as to whether a class action is maintainable.” Vinole,
       571 F.3d at 942 (citation omitted).



CV-90 (12/02)                             CIVIL MINUTES-GENERAL                  Initials of Deputy Clerk: nb
                                                                                              Page 2 of 3
    Case 8:19-cv-01203-JVS-DFM Document 95 Filed 08/19/20 Page 3 of 3 Page ID #:4667

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

               With this backdrop, the Court finds that Plaintiff’s discovery is warranted. The
       discovery at issue seeks information relevant to commonality and typicality, which Plaintiff
       must establish to certify the proposed class. The cases cited by HFT involving discovery
       from absent class members are inapposite. Plaintiffs do not seek discovery from absent class
       members. The discovery sought is from the defendant. Nor are HFT’s arguments about the
       differences between Plaintiff’s claims and the defects identified by the customers in its
       database that helpful. Plaintiff “is not required to demonstrate she is entitled to class
       certification in order to obtain discovery to support her motion for class certification; any
       such requirement would be perverse.” Faraji v. Target Corp., No. 17-0155, 2017 WL
       8292781, at *4 (C.D. Cal. Apr. 28, 2017). Plaintiffs’ claims are not so outlandish that
       Defendant is entitled to resist allowing them the opportunity to develop them before class
       certification proceedings. See Vinole, 571 F.3d at 942 (observing that the Ninth Circuit’s
       “cases stand for the unremarkable proposition that often the pleadings alone will not resolve
       the question of class certification and that some discovery will be warranted”).

               Plaintiffs’ motion is accordingly GRANTED. HFT is ORDERED to produce
       unredacted copies of the documents listed on Dkt. 64-1 at 5 within 14 days of the date of
       this order. HFT is ORDERED to provide supplemental responses to Interrogatory Nos. 13
       and 14 within 14 days of the date of this order. Finally, HFT is ORDERED to produce
       copies of any “videos, photos, or x-rays” exchanged in the Burgard litigation within 14 days
       of the date of this order. All documents or information produced under the terms of this
       order may be produced under the terms of the parties’ protective order. See Dkt. 17.




CV-90 (12/02)                            CIVIL MINUTES-GENERAL                Initials of Deputy Clerk: nb
                                                                                           Page 3 of 3
